
903 N.E.2d 420 (2009)
PEOPLE State of Illinois, respondent,
v.
Ira MULLINS, petitioner.
No. 107449.
Supreme Court of Illinois.
March 25, 2009.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in People v. Mullins, case No. 1-06-1326 (09/30/08). The appellate court is instructed to reconsider its decision in light of People v. Patrick, case Nos. 104077 &amp; 104445 cons., ___ Ill.2d ___, ___ Ill.Dec. ___, ___, ___ N.E.2d ___ (opinion filed 01/23/09).
